Case 2:O4-cr-20l59-SHI\/| Document 59 Filed 05/17/05 Page 1 of 2 Page|D 56

F::_Ep sr 424 gm
|N THE UN|TED STATES DlSTR|CT COURT
FoR THE WEsTERN oisTRlcT oF TENNEssEE 05 rim l? lS.H lU= 33
WESTERN DlV|S|ON

 

 

UN|TED STATES OF AMER|CA
Plaintift

VS.
CR. NO. 04-20159-B

l_AKE|Tl-l HAMPTON (b)

Detendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlaroh 28, 2005. At that time, counsel for
the defendant requested a change of plea date.

The Court granted the request and set the change of plea date of Tuesday, l\/|ay
3, 2005. The Court subsequently Granted a |Vlotion to Continue and re-set the ch_aggg

of plea date for Tuesday May 31, 2005, at 10:30 a.m., in Courtroom 1, 11th F|oor of the

Federal Building, l\/lemphis, TN.

 

The period from |Vlay3, 2005 through June 17, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

:T is so oRoEREo this / 79 day of ay, 2005.

 

.DA lEi_ BREEN "
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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20159 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

